CaSe 2:04-cr-2001]lN-ZIF- UIDEDTCEU@TWTES|B;ISDIUJ€IDEO|EU§E 1 of 2 Page|D 7
FOR TI-IE WESTERN DISTRICT OF TENNESSEE

WESTERN DIVISION ` ; ./)'yv/; ..

 
 

UNITED STATES OF AMERICA *
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* . U.r`. SEST. C"!".
VS' * ~ 1§,sisli§.'-+i:s
JIMMY W. HAR'I` * CR. NO. 2:04cr20044-B

 

ORDER H()LDING DEFENDANT FOR FINAL REVOCATION HEARING

 

On April 15, 2005, ]immy W. Hart appeared before me on a charge of violation of the terms
and conditions of his supervised release in this matter The defendant had previously been advised
of his rights under Fed.R.Crim.P. 5 and 32.1(a), and counsel Was appointed

At this hearing1 the defendant was released on bond and, therefore, a preliminary hearing on

the violation Was not required. §e_e_ United States v. Sciuto, 531 F.Zd 842, 846 (Tth Cir. 1976) and

 

United States v. M, 524 F.2d 77, 78 (Sth Cir. 1975), Lrt.Md, 424 U.S. 966, 96 S.Ct. 1462,
47 L.Ed.Zd 733 (1976).

Accordingly, defendant, Jimmy W. Hart is held to a final revocation hearing before United
States District Judge .I. Daniel Breen. It is presumed that the District Judge Will set this matter for

a revocation hearing pursuant to Fed.R.Crim.P. 32.1(b), (c), and will see that appropn`ate notices are

 

given.
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TU M. PHAM
UNITED STATES MAGISTRATE JUDGE
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This notice confirms a copy ofthe document docketed as number 8 in
case 2:04-CR-20044 vvas distributed by faX, mail, or direct printing on
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PDA

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Honorable .l. Breen
US DISTRICT COURT

